                                                                            Case 2:23-cv-02832-MWF-KS          Document 16   Filed 09/15/23   Page 1 of 2 Page ID
                                                                                                                     #:90


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                                                                           10                             UNITED STATES DISTRICT COURT
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                                                                                                      CENTRAL DISTRICT OF CALIFORNIA
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                                                                           13   ELIZABETH KERMANI, individually                 Case No. 2:23-cv-02832-MWF-KS
                                                                                and on behalf of all others similarly
                                                                           14   situated,                                      PLAINTIFF’S NOTICE OF
                                                                                                                               VOLUNTARY DISMISSAL OF
                                                                           15                             Plaintiff,           ACTION WITH PREJUDICE AS
                                                                                                                               TO NAMED PLAINTIFF AND
                                                                           16        vs.                                       WITHOUT PREJUDICE AS TO
                                                                                                                               THE PUTATIVE CLASS
                                                                           17   GODIVA CHOCOLATIER, INC.,                      PURSUANT TO FED. R. CIV. P.
                                                                                                                               41(a)(1)(A)(i)
                                                                           18                             Defendant.
                                                                           19                                                  Complaint Filed: April 14, 2023
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                                                                                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF ACTION WITH PREJUDICE AS
                                                                                    TO NAMED PLAINTIFF AND WITHOUT PREJUDICE AS TO THE PUTATIVE CLASS
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                                                                                                               PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)
                                                                            Case 2:23-cv-02832-MWF-KS      Document 16     Filed 09/15/23   Page 2 of 2 Page ID
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                                                                           1          Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
                                                                           2    Plaintiff Eliabeth Kermani (“Plaintiff”) voluntarily dismisses this action against
                                                                           3    Defendant Godiva Chocolatier, Inc. (“Defendant”) with prejudice as to the named
                                                                           4    Plaintiff and without prejudice as to the putative class. Defendant has neither
                                                                           5    answered Plaintiff’s Complaint nor filed a motion for summary judgment.
                                                                           6    Therefore, Plaintiff may dismiss the above-captioned action without a court order.
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                                                                           8    Dated: September 15, 2023                  CLARKSON LAW FIRM, P.C.
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                                                                                                                           /s/ Bahar Sodaify
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                                                                           12
                                                                                                                           Attorneys for Plaintiff
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                                                                                PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF ACTION WITH PREJUDICE AS
                                                                                  TO NAMED PLAINTIFF AND WITHOUT PREJUDICE AS TO THE PUTATIVE CLASS
                                                                                                  PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)
